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                           IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


SCOTT SWYSGOOD                                  )       CASE NO. 5:17-CV-00697-BYP
                                                )
          Plaintiff                             )       JUDGE BENITA Y. PEARSON
                                                )
v.                                              )       MAGISTRATE JUDGE LIMBERT
                                                )
BOARD OF EDUCATION OF THE                       )
NORTHWESTERN LOCAL SCHOOL                       )       JOINT PROPOSED JURY
DISTRICT OF WEST SALEM, et al.                  )       INSTRUCTIONS
                                                )
          Defendants                            )


          Now comes Plaintiff Scott Swysgood and Defendant Board of Education of the

Northwestern Local School District of West Salem (“Northwestern Board of Education”), by and

through their respective attorneys and file this set of joint proposed jury instructions. These

Instructions are the result of proposals that were traded back and forth between the parties and

were discussed in detail by the parties as late as 3:10 p.m. today, January 22, 2019.

          The joint proposed instructions consist of the following:

          (1)     Language that is agreed to by both parties and has neither an underline nor a strike

line.

          (2)     Language proposed by defendant but not agreed to by plaintiff which is indicated

by a strike line.

          (3)     Language proposed by plaintiff but not agreed to by defendant which is indicated

by an underline.

          (4)     Language added by defendant but which plaintiff has not reviewed in brackets.
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                                 Respectfully submitted,

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                                   JUROR ATTENTIVENESS

        Ladies and gentlemen, before you begin your deliberations, I now am going to instruct you

on the law. You must pay close attention, and I will be as clear as possible.

        So far you have faithfully discharged your duty to listen carefully and observe each witness

who testified. Your interest never flagged, and you have followed the testimony with close

attention.

        I ask you to give me that same careful attention, as I instruct you on the law.




LEXIS Modern Federal Jury Instructions-Civil P 71.01


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                                  THE ROLE OF THE COURT

         You have now heard all of the evidence in the case as well as the final arguments of the

lawyers for the parties.

         My duty at this point is to instruct you as to the law. It is your duty to accept these

instructions of law and apply them to the facts as you determine them, just as it has been my duty

to preside over the trial and decide what testimony and evidence is relevant under the law for your

consideration.

         On these legal matters, you must take the law as I give it to you. If any attorney has stated

a legal principle different from any that I state to you in my instructions, it is my instructions that

you must follow.

         You should not single out any instruction as alone stating the law, but you should consider

my instructions as a whole when you retire to deliberate in the jury room.

         You should not, any of you, be concerned about the wisdom of any rule that I state.

Regardless of any opinion that you may have as to what the law may be—or ought to be—it would

violate your sworn duty to base a verdict upon any other view of the law than that which I give

you.




LEXIS Modern Federal Jury Instructions-Civil P 71.01



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                                     ROLE OF THE JURY

        As members of the jury, you are the sole and exclusive judges of the facts. You pass upon

the evidence. You determine the credibility of the witnesses. You resolve such conflicts as there

may be in the testimony. You draw whatever reasonable inferences you decide to draw from the

facts as you have determined them, and you determine the weight of the evidence.

        In determining these issues, no one may invade your province or functions as jurors. In

order for you to determine the facts, you must rely upon your own recollection of the evidence.

What the lawyers have said in their opening statements, in their closing arguments, in their

objections, or in their questions is not evidence. What I may have said—or what I may say in these

instructions—about a fact issue is not evidence. In this connection, you should bear in mind that a

question put to a witness is never evidence, it is only the answer which is evidence. But you may

not consider any answer that I directed you to disregard or that I directed struck from the record.

Do not consider such answers.

        Since you are the sole and exclusive judges of the facts, I do not mean to indicate any

opinion as to the facts or what your verdict should be. The rulings I have made during the trial are

not any indication of my views of what your decision should be as to whether or not the plaintiff

has proven his case.

        I also ask you to draw no inference from the fact that upon occasion I asked questions of

certain witnesses. These questions were only intended for clarification or to expedite matters and

certainly were not intended to suggest any opinions on my part as to the verdict you should render,

or whether any of the witnesses may have been more credible than any other witnesses. You are

expressly to understand that the court has no opinion as to the verdict you should render in this

case.



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        As to the facts, ladies and gentlemen, you are the exclusive judges. You are to perform the

duty of finding the facts, without bias or prejudice to any party, and applying the law to the facts,

as I instruct you.




LEXIS Modern Federal Jury Instructions-Civil P 71.01

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                                         JUROR OATH

       In determining the facts, you are reminded that you took an oath to render judgment

impartially and fairly, without prejudice or sympathy and without fear, solely upon the evidence

in the case and the applicable law. I know that you will do this and reach a just and true verdict.




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                        JURY TO DISREGARD THE COURT’S VIEW

        I have not expressed nor have I intended to intimate any opinion as to which witnesses are

or are not worthy of belief, what facts are or are not established, or what inference or inferences

should be drawn from the evidence. If any expression of mine has seemed to indicate an opinion

relating to any of these matters, I instruct you to disregard it.

        From time to time the court has been called upon to pass upon the admissibility of certain

evidence, although I have tried to do so, in so far as it was practicable, out of your hearing. You

have no concern with the reasons for any such rulings, and you are not to draw any inferences from

them. Whether offered evidence is admissible is purely a question of law in the province of the

court and outside the province of the jury. In admitting evidence to which objection has been made,

the court does not determine what weight should be given to such evidence, nor does it pass on the

credibility of the evidence. Of course, you will dismiss from your mind, completely and entirely,

any evidence which has been ruled out of the case by the court, and you will refrain from

speculation or conjecture or any guesswork about the nature or effect of any colloquy between

court and counsel held out of your hearing or sight.




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                                     CONDUCT OF COUNSEL

       It is the duty of the attorney on each side of a case to object when the other side offers

testimony or other evidence which the attorney believes is not properly admissible. Counsel also

have the right and duty to ask the court to make rulings of law and to request conferences at the

side bar out of the hearing of the jury. All those questions of law must be decided by me, the court.

You should not show any prejudice against an attorney or his client because the attorney objected

to the admissibility of evidence, or asked for a conference out of the hearing of the jury or asked

the court for a ruling on the law.

       As I already indicated, my rulings on the admissibility of evidence do not, unless expressly

stated by me, indicate any opinion as to the weight or effect of such evidence. You are the sole

judges of the credibility of all witnesses and the weight and effect of all evidence.




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                                              SYMPATHY

        Under your oath as jurors you are not to be swayed by sympathy. You should be guided

solely by the evidence presented during the trial, without regard to the consequences of your

decision.

        You have been chosen to try the issues of fact and reach a verdict on the basis of the

evidence or lack of evidence. If you let sympathy interfere with your clear thinking there is a risk

that you will not arrive at a just verdict. All parties to a civil lawsuit are entitled to a fair trial. You

must make a fair and impartial decision so that you will arrive at the just verdict.




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                              BURDEN OF PROOF: GENERAL

       This is a civil case. As such, the plaintiff, Scott Swysgood, has the burden of proving the

material allegations of his complaint by a preponderance of the evidence. If after considering all

the testimony, you are satisfied that Scott Swysgood has carried his burden on each essential point

as to which he has the burden of proof, then you must find for him on his claim. If after such

consideration you find the testimony of both parties to be in balance or equally probable, then Scott

Swysgood has failed to sustain his burden, and you must find for the defendant, Board of Education

of the Northwestern Local School District (“Northwestern Board of Education”).

       If upon a consideration of all the facts on the claim of breach of contract, you find that

Scott Swysgood has failed to sustain his burden, then you should proceed no further, and your

verdict must be for the Northwestern Board of Education. If, however, you find that Scott

Swysgood has sustained his burden on this issue, then you must proceed to consider the

Northwestern Board of Education’s affirmative defense of waiver and [waiver by estoppel]. In

this regard, the burden is upon the Northwestern Board of Education to establish the affirmative

defense of waiver and waiver by estoppel by a preponderance of the evidence.

       If you determine that the Northwestern Board of Education has sustained its burden of

establishing its affirmative defense of waiver and [waiver by estoppel], then you should proceed

no further, and your verdict must be for the Northwestern Board of Education. If, however, you

find that Scott Swysgood has established the essential elements of his case and that the

Northwestern Board of Education has not sustained its burden of the affirmative defenses, then

you should proceed to consider the issue of damages, which is addressed later in these instructions.



LEXIS Modern Federal Jury Instructions-Civil P 73.01

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                          PREPONDERANCE OF THE EVIDENCE

       The party with the burden of proof on any given issue has the burden of proving every

disputed element of his claim to you by a preponderance of the evidence. If you conclude that the

party with the burden of proof has failed to establish his or its claim or defense[s] by a

preponderance of the evidence, then you must decide against him or it on the issue you are

considering.

       What does a “preponderance of evidence” mean? To establish a fact by a preponderance

of the evidence means to prove that the fact is more likely true than not true. A preponderance of

the evidence means the greater weight of the evidence. It refers to the quality and persuasiveness

of the evidence, not to the number of witnesses or documents. In determining whether a claim has

been proved by a preponderance of the evidence, you may consider the relevant testimony of all

witnesses, regardless of who may have called them, and all the relevant exhibits received in

evidence, regardless of who may have produced them.

       If you find that the credible evidence on a given issue is evenly divided between the

parties—that it is equally probable that one side is right as it is that the other side is right—then

you must decide that issue against the party having this burden of proof. That is because the party

bearing this burden must prove more than simple equality of evidence—he must prove the element

at issue by a preponderance of the evidence. On the other hand, the party with this burden of proof

need prove no more than a preponderance. So long as you find that the scales tip, however slightly,

in favor of the party with this burden of proof—that what the party claims is more likely true than

not true—then that element will have been proved by a preponderance of evidence.




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       You may have heard of the phrase “proof beyond a reasonable doubt.” This is the proper

standard of proof in a criminal trial. That requirement does not apply to a civil case such as this

one, and you should put it out of your mind.




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                              WHAT IS AND IS NOT EVIDENCE

       The evidence in this case is the sworn testimony of the witnesses, the exhibits received in

evidence, stipulations, and judicially noticed facts.

       By contrast, the questions of the lawyers are not to be considered by you as evidence. It is

the witnesses’ answers that are evidence, not the questions.

       Testimony that has been stricken or excluded is not evidence and may not be considered

by you in rendering your verdict. Also, if certain testimony was received for a limited purpose—

such as for the purpose of assessing a witness’s credibility—you must follow the limiting

instructions I have given.

       Arguments by lawyers are not evidence, because the lawyers are not witnesses. What they

have said to you in their opening statements and in their summations is intended to help you

understand the evidence to reach your verdict. However, if your recollection of the facts differs

from the lawyers’ statements, it is your recollection which controls.

       To constitute evidence which may be considered by you, exhibits must be received in

evidence. Exhibits marked for identification but not admitted are not evidence, nor are materials

brought forth only to refresh a witness’ recollection.

       Finally, statements which I may have made concerning the quality of the evidence do not

constitute evidence.

       It is for you alone to decide the weight, if any, to be given to the testimony you have heard

and the exhibits you have seen.




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LEXIS Modern Federal Jury Instructions-Civil P 74.01




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                       DIRECT AND CIRCUMSTANTIAL EVIDENCE

        There are two types of evidence which you may properly use in reaching your verdict.

        One type of evidence is direct evidence. Direct evidence is when a witness testifies about

something he knows by virtue of his own senses—something he has seen, felt, touched, or heard.

Direct evidence may also be in the form of an exhibit when the fact to be proved is its present

existence or condition.

        The other type of evidence is circumstantial evidence. This is evidence which tends to

prove a disputed fact by proof of other facts. There is a simple example of circumstantial evidence

which is often used in this courthouse.

        Assume that when you came into the courthouse this morning the sun was shining and it

was a nice day. Assume that the courtroom blinds were drawn and you could not look outside. As

you were sitting here, someone walked in with an umbrella which was dripping wet. Then a few

minutes later another person also entered with a wet umbrella. Now, you cannot look outside of

the courtroom and you cannot see whether or not it is raining. So you have no direct evidence of

that fact. But on the combination of facts which I have asked you to assume, it would be reasonable

and logical for you to conclude that it had been raining.

        That is all there is to circumstantial evidence. You infer on the basis of reason and

experience and common sense from one established fact the existence or non-existence of some

other fact.

        Circumstantial evidence is of no less value than direct evidence; for, it is a general rule that

the law makes no distinction between direct evidence and circumstantial evidence but simply

requires that your verdict must be based on a preponderance of all the evidence presented.



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                             WITNESS CREDIBILITY: GENERAL

       You are the judges of the facts, the credibility of the witnesses, and the weight of the

evidence.

       To weigh the evidence, you must consider the credibility of the witnesses. You will use the

tests of truthfulness that you use in your daily lives.

       These tests include the appearance of each witness upon the stand; the witness' manner of

testifying; the reasonableness of the testimony; the opportunity the witness had to see, hear, and

know the things about which the witness testified; and the witness' accuracy of memory, frankness

or lack of it, intelligence, interest, and bias, if any, together with all the facts and circumstances

surrounding the testimony. Use these tests and assign to each witness' testimony such weight as

you think proper.

       You are not required to believe the testimony of any witness simply because the witness

was under oath. You may believe or disbelieve all or any part of the testimony of any witness. It

is your duty to decide what testimony to believe and what testimony not to believe. The testimony

of one witness if believed by you is sufficient to prove any disputed fact.



Source:

Ohio Jury Instruction CV 305.05 Credibility [Rev. 11-14-17].You have had the opportunity

to observe all of the witnesses. It is now your job to decide how believable each witness was

in his or her testimony. You are the sole judges of the credibility of each witness and of the

importance of his or her testimony.



       How do you determine where the truth lies? You watched each witness testify. Everything

a witness said or did on the witness stand counts in your determination. How did the witness

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impress you? Did he or she appear to be frank, forthright, and candid, or evasive and edgy as if

hiding something? How did the witness appear; what was his or her demeanor—that is, his or her

carriage, behavior, bearing, manner, and appearance while testifying? Often it is not what a person

says but how he or she says it that moves us.

       You should use all the tests for truthfulness that you would use in determining matters of

importance to you in your everyday life. You should consider any bias or hostility the witness may

have shown for or against any party as well as any interest the witness has in the outcome of the

case. You should consider the opportunity the witness had to see, hear, and know the things about

which he or she testified, the accuracy of the witness’s memory, the witness’s candor or lack of

candor, the witness’s intelligence, the reasonableness and probability of the witness’s testimony

and its consistency or lack of consistency and its corroboration or lack of corroboration with other

credible testimony.

       In other words, what you must try to do in deciding credibility is to size a witness up in

light of his or her demeanor, the explanations given, and all of the other evidence in the case.

Always remember that you should use your common sense, your good judgment, and your own

life experience.




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                               WITNESS CREDIBILITY: BIAS

       In deciding whether to believe a witness, you should specifically note any evidence of

hostility or affection that the witness may have towards one of the parties. Likewise, you should

consider evidence of any other interest or motive that the witness may have in cooperating with a

particular party.

       It is your duty to consider whether the witness has permitted any such bias or interest to

color his or her testimony. In short, if you find that a witness is biased, you should view his

testimony with caution, weigh it with care, and subject it to close and searching scrutiny.




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                    WITNESS CREDIBLITY: INTEREST IN OUTCOME

       In evaluating the credibility of the witnesses, you should take into account any evidence

that a witness may benefit in some way from the outcome of the case. Such interest in the outcome

creates a motive to testify falsely and may sway a witness to testify in a way that advances his or

her own interests. Therefore, if you find that any witness whose testimony you are considering

may have an interest in the outcome of this trial, then you should bear that factor in mind when

evaluating the credibility of his or her testimony, and accept it with great care.

       Keep in mind, though, that it does not automatically follow that testimony given by an

interested witness is to be disbelieved. There are many people who, no matter what their interest

in the outcome of the case may be, would not testify falsely. It is for you to decide, based on your

own perceptions and common sense, to what extent, if at all, the witness’s interest has affected his

or her testimony.




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               WITNESS CREDIBILITY: DISCREPANCIES IN TESTIMONY

        You have heard evidence of discrepancies in the testimony of certain witnesses, and

counsel have argued that such discrepancies are a reason for you to reject the testimony of those

witnesses.

        You are instructed that evidence of discrepancies may be a basis to disbelieve a witness’s

testimony. On the other hand, discrepancies in a witness’s testimony or between his or her

testimony and that of others do not necessarily mean that the witness’s entire testimony should be

discredited.

        People sometimes forget things, and even a truthful witness may be nervous and contradict

himself or herself. It is also a fact that two people witnessing an event will see or hear it differently.

Whether a discrepancy pertains to a fact of importance or only to a trivial detail should be

considered in weighing its significance; but a willful falsehood always is a matter of importance

and should be considered seriously.

        It is for you to decide, based on your total impression of the witness, how to weigh the

discrepancies in his or her testimony. You should, as always, use common sense and your own

good judgment.




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       WITNESS CREDIBILITY: IMPEACHMENT BY PRIOR INCONSISTENT
                              STATEMENTS

       You may have heard evidence that at some earlier time the witness has said or done

something that counsel argues is inconsistent with the witness’s trial testimony.

        Evidence of a prior inconsistent statement [may be considered for the] purpose of helping

you decide whether to believe the trial testimony of the witness who contradicted himself or

herself. If you find that the witness made an earlier statement that conflicts with his or her trial

testimony, you may consider that fact in deciding how much of his or her trial testimony, if any,

to believe [and the weight of the evidence.]

       In making this determination, you may consider whether the witness purposely made a

false statement or whether it was an innocent mistake; whether the inconsistency concerns an

important fact, or whether it had to do with a small detail; whether the witness had an explanation

for the inconsistency, and whether that explanation appealed to your common sense.

       It is exclusively your duty, based on all the evidence and your own good judgment, to

determine whether the prior statement was inconsistent, and if so, how much, if any, weight to

give to the inconsistent statement in determining whether to believe all or part of the witness’s

testimony.




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                                       INTERROGATORIES

         You have heard and seen evidence in this case which is in the form of interrogatories.

         Interrogatories are written questions posed by one side which call for written answers under

oath from the other side. Both the questions and answers are made prior to trial after the case has

begun in what is called pretrial discovery, and each side is entitled to seek such discovery from the

other.

         You may consider a party’s answers to interrogatories as evidence just as you would any

other evidence which has been admitted in this case.

         In this regard, you are not required to consider a party’s answers to interrogatories as true,

nor are you required to give them more weight than any other evidence. It is up to you to determine

what weight, if any, should be given to the interrogatory answers which have been admitted as

evidence.




LEXIS Modern Federal Jury Instructions-Civil P 74.07




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                                         DEPOSITIONS

       During the trial of this case, certain testimony has been read to you by way of deposition

or presented to you by way of videotaped deposition. A deposition is simply a procedure where

prior to trial the attorneys may question a witness or an adversary party under oath before a

stenographer. The deposition testimony of a witness who is unavailable to testify from the witness

stand may be presented in writing or by video under oath, in the form of a deposition. Such

testimony is entitled to the same consideration, and is to be judged as to credibility, and weighed,

and otherwise considered by the jury, insofar as possible, in the same way as if the witness had

been present, and had testified from the witness stand.




I OJI Civil 5.31; Ogan v. A.P. Green Servs., Inc., 2004 Jury Instr. LEXIS 110.

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                      GOVERNMENTAL ENTITY: SCHOOL BOARD

       In this case, Defendant Northwestern Board of Education is a part of a local government.

The mere fact that the Defendant is a part of a local government does not mean it is entitled to any

lesser consideration by you. All litigants are equal before the law, and a governmental entity such

the Northwestern Board of Education is entitled to the same fair consideration as you would give

any other individual party.




LEXIS Modern Federal Jury Instructions-Civil P 72.01, as adapted


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                          PLAINTIFF’S BREACH OF CONTRACT CLAIM

       Plaintiff Scott Swysgood and the Northwestern Board of Education entered into a series of

employment contracts for the position of Transportation Supervisor/Head Bus Mechanic during

the time period from January 2012 to August 10, 2016. Based on those contracts, Plaintiff and

Defendant dispute whether Scott Swysgood was an hourly support employee and entitled to

additional compensation.

       The three written contract documents consist of (1) the first contract document with an

effective date of January 16, 2012; (2) a second contract document with an effective date of August

1, 2013; and (3) a third contract document with an effective date of August 1, 2016.

       You must determine whether under these contract documents, the parties intended that

Scott Swysgood was an hourly support employee and entitled to compensation for additional hours

logged beyond his regular workday schedule; or whether Scott Swysgood was a

supervisor/administrator and a member of the administration and not entitled to compensation for

additional hours logged beyond his regular workday schedule. You must also determine whether

the parties to the contracts have fulfilled their respective obligations under the contracts.

Plaintiff Scott Swysgood and the Northwestern Board of Education entered into a series of

employment contracts for the position of Transportation Supervisor/Head Bus Mechanic during

the time period from January 2012 to August 10, 2016. Based on those contracts, Plaintiff and

Defendant dispute whether Scott Swysgood was an hourly support employee and, therefore,

entitled to compensation for additional hours logged beyond his regular workday schedule; or

whether Scott Swysgood was a salaried supervisor/administrator and member of the administration

and, therefore, not entitled to compensation for additional hours logged beyond his regular

workday schedule.



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The last contract ended when Scott Swysgood failed to report to work from August 1 to August

10, 2016 and he accepted a full time job with a new employer on August 6, 2016. The

Northwestern Board of Education formally accepted Scott Swysgood’s resignation on August 10,

2016.   The Court has already determined that Scott Swysgood abandoned his job at the

Northwestern School District at that time.

The three written contract documents consist of (1) the first contract document with an effective

date of January 16, 2012; (2) a second contract document with an effective date of August 1, 2013;

and (3) a third contract document with an effective date of August 1, 2016. This Court has held

that the first two written contract documents between Scott Swysgood and the Northwestern Board

of Education from 2012-2016 were ambiguous on the question whether Scott Swysgood was an

hourly support employee or a salaried supervisor/administrator and member of the administration.

You must determine whether under these contract documents, the parties intended that Scott

Swysgood was an hourly support employee and entitled to compensation for additional hours

logged beyond his regular workday schedule; or whether Scott Swysgood was a

supervisor/administrator and a member of the administration and not entitled to compensation for

additional hours logged beyond his regular workday schedule. You must also determine whether

the parties to the contracts have fulfilled their respective obligations under the contracts.

Because this Court has held that the first two of the three contracts are ambiguous, you may

consider additional evidence beyond “the four corners” of the two ambiguous contract documents,

in order to decide what the Plaintiff and Defendant intended under the contract documents.




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Source: OJI CV 501.01, adapted.




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                                            PROOF OF CLAIM

       To prove breach of contract, Scott Swysgood must prove each of the following by a

preponderance of the evidence:

               (1)     That the parties intended Scott Swysgood to bewas an hourly support

                       employee and that the Northwestern Board of Education was contractually

                       obligated to compensate Scott Swysgood for additional hours that he logged

                       beyond his normal workday hours as Transportation Supervisor/Head Bus

                       Mechanic;

               (2)     That the Northwestern Board of Education failed to meet its contractual

                       obligations and thus breached the contract; and

               (3)     That Scott Swysgood had substantially performed his duties under the

                       contract at the time of the Northwestern Board of Education’s breach.

       BREACH. A contract is breached when one party fails or refuses to perform his/her/its

duties under the contract.

       SUBSTANTIAL PERFORMANCE. “Substantial performance” by Plaintiff means the

absence of a breach that violates a term essential to the purpose of the contract. “Substantial

performance” may include mere nominal, trifling, slight or technical departures from the contract

terms so long as the plaintiff acts in good faith.

       GOOD FAITH. “Good faith” means honesty in fact in the conduct or transaction.




Source:
OJI CV 501.01.




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                                     PROOF OF CLAIM (cont’d)

       DUTY OF GOOD FAITH AND FAIR DEALING. A duty of good faith and fair dealing

is implied in every contract. “Good faith” is an implied duty not to take opportunistic advantage

in a way that could not have been contemplated at the time of drafting, and which therefore was

not resolved explicitly by the parties. It does not, however, take the place of the express terms of

the contract. Good faith performance or enforcement of a contract emphasizes faithfulness to an

agreed common purpose and consistency with the justified expectations of the other party.



Sources:

Kirkwood v. FSD Dev. Corp., 8th Dist. Cuyahoga No. 95280, 2011-Ohio-1098, ¶ 9.

Ed Schory & Sons v. Francis, 75 Ohio St.3d 433, 443-444, 1996 Ohio 194, 662 N.E.2d 1074
(1998).

Gator Dev. Corp. v. VHH, Ltd., 1st Dist. Hamilton No. C-080193, 2009-Ohio-1802, ¶ 24.

Littlejohn v. Parrish, 163 Ohio App. 3d 456, 2005-Ohio-4850, 839 N.E.2d 49, ¶ 26.

Restatement of the Law 2d, Contracts, Section 205, Comments a and d (1981).

Third Fed. Sav. & loan Ass’n of Cleveland v. Formanik, 2016-Ohio-7478, ¶ 45, 64 N.E.3d 1034,
1048-49 (Ct. App.)




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                              CONTRACT INTERPRETATION

       PREPRINTED FORMS. The Northwestern Board of Education contends that Scott

Swysgood’s employment contracts from January 2012 and August 2013 were mistakenly printed

on incorrect templates or forms. Under the law, when there is a contradiction between the language

of a form and the language specifically typed into the form, the specific typed-in language is

controlling.

       If you conclude, based on your review Scott Swysgood’s contract documents and the

evidence as a whole, that the language of the form contradicts the typed-in language specific to

Scott Swysgood, then you must find that the specific typed-in language is controlling of that issue.

Sources:

Loblaw, Inc. v Warren Plaza, Inc., 163 Ohio St. 581 (1955) (“The typed portion of a . . . contract
will prevail over the printed portion thereof, if the two are inconsistent).”

American Hardware Mut. Ins. Co. v Mansfield Auto Truck Plaza, 15 Ohio St. 3d 367 (1984)
(regarding insurance contracts).

Bristol-Myers Squibb Co. v Ikon Office Solutions, Inc., 295 F.3d 680 (7th Cir. 2002) (“Under
Missouri law, when a conflict arises between a preprinted portion and a typewritten portion of
the contract, the typewritten language will prevail”).




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                              CONTRACT INTERPRETATION

       GENERAL. The parties disagree as to the meaning of certain language in the contract

documents. The contract documents consist of the 2012, 2013, and 2016 written employment

contracts which were introduced into evidence. Plaintiff claims that he is an hourly support

employee and he is owed additional compensation for additional hours logged beyond his regular

workday schedule. Defendant claims that Scott Swysgood was a supervisor/administrator and a

member of the administration and that the Northwestern Board of Education has no obligation

under the contract documents to pay additional compensation to Scott Swysgood. The contract

documents are silent on this topic.

       Because the Court has already held that the parties’ written contract documents are

ambiguous on this topic, the law allows you to determine what the parties intended based on certain

types of evidence outside “the four corners” of the written contract documents. You must decide

from all of the facts and circumstances in evidence what the parties intended the contract

documents to mean.

       INTENT OF THE PARTIES. You will decide the intention of the parties by viewing the

contract documents as a whole and by considering the following: the subject matter and apparent

purpose of the contract documents; all of the facts, the circumstances, and the course of conduct

of the parties in evidence surrounding the contract documents; and the reasonableness of the

respective interpretations offered by the parties. You are not to decide the parties’ intent from any

unexpressed intention of either party. You will decide their intention by giving the words of the

contract documents their plain, ordinary, and reasonable meaning. Words that have acquired a

particular meaning in the context of employment with the Northwestern Board of Education will

normally be given that meaning.

Source: Adapted from OJI CV 501.07.

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                          CONTRACT INTERPRETATION (cont’d).

        THE PARTIES’ WORDS AND CONDUCT. When evaluating the parties’ intentions,

you should interpret their words and other conduct in the light of all the circumstances. If you can

determine the principal purpose of the parties based on their words and conduct, that principal

purpose should be given great weight.

        WRITINGS. A writing is interpreted as a whole, and all writings that are part of the same

transaction are interpreted together. Unless a different intention is apparent, where language has

a generally prevailing meaning, it is interpreted in accordance with that meaning. However,

technical terms and words of art are given their technical meaning when used in a transaction

within their technical field.

        REPEATED OCCASIONS FOR PERFORMANCE. When evaluating the parties’

intent, you should consider their course of performance under the contract.           A course of

performance accepted or acquiesced in without objection is given great weight in the interpretation

of the agreement.

        Wherever reasonable, the manifestations of intention of the parties to a promise or

agreement are interpreted as consistent with each other and with any relevant course of

performance, course of dealing, or usage of trade.

Source:
Adapted from Restatement 2d of Contracts, § 202 (2nd 1981).




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 AUTHORITY OF THE BOARD OF EDUCATION AND ITS INDIVIDUAL MEMBERS

       When evaluating the parties’ obligations based on the evidence, you must consider the

following principles of law.

       SUPERVISOR. The term “supervisor” means any individual who has authority, in the

interest of the public employer, to hire, transfer, suspend, lay off, recall, promote, discharge,

assign, reward, or discipline other public employees; to responsibly direct them; to adjust their

grievances; or to effectively recommend such action, if the exercise of that authority is not of a

merely routine or clerical nature, but requires the use of independent judgment.

Source:
Ohio Rev. Code § 4117.01.

       EMPLOYMENT OF ADMINISTRATORS AND SUPERVISORS. Under the law,

only the Northwestern Board of Education may execute a written contract of employment with

an administrator or supervisor.

Source:
Ohio Rev. Code § 3319.02.

       CONTRACTS NOT BINDING ON BOARD. By statute, no contract is binding upon

the Northwestern Board of Education unless made or authorized at a board meeting.

Source:
Ohio Rev. Code § 3313.33

       AUTHORITY OF INDIVIDUAL BOARD MEMBERS. Individual members of a board

of education ordinarily have no authority to act on behalf of the board, except when they act

together in session and then only by resolution or motion duly entered on the minutes.

Sources:
Ohio Rev. Code § 3313.18
Northwestern Local School District, Rule BBAA.
Wolf v. Cuyahoga Falls City School Dist. Bd. of Educ., 52 OS3d 222, 556 NE2d 511 (1990)
(high school principal’s alleged promise to teacher concerning work schedule not enforceable
against board).

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Walker v. Lockland City School Dist. Bd. of Educ., 69 OApp2d 27, 23 OO3d 24, 429 NE2d 1179
(1980) (oral statements of superintendent regarding attendance of students in district not binding
on board).

Burnat v. Lake Twp. Bd. of Educ., 1994 Ohio App. LEXIS 3964 (Wood 1994) (transportation
supervisor’s alleged promise of permanent employment, made to substitute bus driver, not
enforceable against board).




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                           AFFIRMATIVE DEFENSE: WAIVER

       Northwestern Board of Education claims that the Scott Swysgood waived his entitlement

to compensation for additional hours logged beyond his regular workday schedule. A waiver is the

voluntary relinquishment of a known right. If all the requirements of waiver are proven, then the

party claiming waiver, in this case, the Northwestern Board of Education, is relieved from

performing its contractual obligation. "Waiver" occurs when:

        If you find that Scott Swysgood was an hourly support employee and the Northwestern

Board of Education agreed to compensate Scott Swysgood for additional hours logged beyond the

regular workday schedule, the Northwestern Board of Education asserts that Scott Swysgood

waived his right to such compensation. Thus, if you decide that Scott Swysgood was an hourly

support employee and had a right to compensation for additional hours logged beyond the regular

workday schedule, you must next determine whether he waived that right.

       A waiver is the voluntary relinquishment of a known right. If all the requirements of waiver

are proven, then the party claiming waiver, in this case, the Northwestern Board of Education, is

excused from performing its contractual obligation. If you find the following elements by a

preponderance of the evidence, then you must find that Mr. Swsygood waived his right to

compensation for additional hours logged beyond his regular workday schedule:

       (A)    Scott Swysgood voluntarily relinquished his right to receive additional

              compensation for additional hours logged beyond his regular workday schedule by

              his [words and] actions.

       (B)    Scott Swysgood was aware of the his right at the time of the waiver; and

       (C)    Scott Swysgood intended to waive the right to additional compensation for

              additional hours logged at the time of the waiver; and



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      (D)    Scott Swysgood had full knowledge of the relevant facts at the time of the waiver;

             and

      (E)    the Northwestern Board of Education reasonably changed its position in a

             substantial way in reliance upon the waiver.



Source: OJI CV 501.27




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                   AFFIRMATIVE DEFENSE: WAIVER BY ESTOPPEL

       In addition to its affirmative defense of “waiver,” the Northwestern Board of Education

asserts the affirmative defense of “waiver by estoppel.” This affirmative defense is similar to

waiver, but it allows a party’s inconsistent conduct, rather than his intent, to establish a waiver of

rights. To establish the affirmative defense of waiver by estoppel, you must find all of the

following:

       (A)     That Scott Swysgood’s acts and conduct, while he was employed as transportation

               supervisor/head bus mechanic with the Northwestern Board of Education, are

               inconsistent with his claim that he is owed compensation for hours in excess of his

               regular forty hour work week;

       (B)     that the Northwestern Board of Education was misled by Swysgood’s acts and

               conduct while he was employed as transportation supervisor/head bus mechanic;

               and

       (C)     that the Northwestern Board of Education was prejudiced as a result.

       If you find these elements by a preponderance of the evidence, then you must find that Mr.

Swsygood waived his right to compensation for additional hours logged beyond his regular

workday schedule.




PHH Mortg. Corp. v. Ramsey, 2014-Ohio-3519, ¶ 20, 17 N.E.3d 629, 634 (Ct. App.)
Lewis & Michael Moving & Storage, Inc. v. Stofcheck Ambulance Serv., 2006-Ohio-3810, ¶¶ 29-
30 (Ct. App.).
Mark-It Place Foods, Inc. v. New Plan Excel Realty Tr., Inc., 2004-Ohio-411, ¶ 57, 156 Ohio
App. 3d 65, 92-93, 804 N.E.2d 979, 1000.


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                                            DAMAGES

       GENERAL. If you find by the greater weight of the evidence that Scott Swysgood was

an hourly support employee and the Northwestern Board of Education breached the a contract (and

was not excused by either of its affirmative defenses of waiver or waiver by estoppel), with Scott

Swysgood, Plaintiff is entitled to damages in the amount sufficient to place him in the same

position in which he would have been if the contract had been fully performed by the defendant to

the extent that the damages are reasonably certain and within the contemplation of the

partiesreasonably foreseeable.

       In this case, Scott Swysgood’s claim for damages is based on the number of additional

hours logged beyond his regular workday schedule that he claims to have accumulated from 2012

to 2016. When calculating the number hours Scott Swysgood accumulated, you must consider

whether based on the evidence any additional work hours, which may have been recorded by Scott

Swysgood, carried over from one year to the next, or whether those claimed additional hours did

not carry over and were accordingly lost.

       DAMAGES REASONABLY CERTAIN. You may only award damages the existence

and amount of which are reasonably certain and have been proved to you by a preponderance of

the evidence. You may not award damages that are remote or speculative.

       CONTEMPLATION OF THE PARTIES. You may only award those damages that

were the natural and probable result of the breach of the contract or that were reasonably within

the contemplation of the parties as the probable result of the breach of the contract. This does not

require that the defendant actually be aware of the damages that will result from the breach of

contract so long as the damages were reasonably foreseeable at the time the parties entered into

the contract as a probable result of the breach.

Source: OJI CV 501.33

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                       CONSIDER DAMAGES ONLY IF NECESSARY

        If the plaintiff has proven by a preponderance of the credible evidence that defendant is

liable on the plaintiff’s claim, then you must determine the damages to which the plaintiff is

entitled.

        However, you should not infer that the plaintiff is entitled to recover damages merely

because I am instructing you on the elements of damages. It is exclusively your function to decide

upon liability, and I am instructing you on damages only so that you will have guidance should

you decide that the plaintiff is entitled to recovery.




LEXIS Modern Federal Jury Instructions-Civil P 77.01

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       DELIBERATIONS: RIGHT TO SEE EXHIBITS AND HEAR TESTIMONY;
                  COMMUNICATIONS WITH THE COURT

       The Court has given you the instructions on the law applicable to this case. I will now

instruct you on how to conduct your deliberations and prepare your verdict.

       You are about to go into the jury room and begin your deliberations. If during those

deliberations you want to see any of the exhibits, you may request that they be brought into the

jury room. If you want any of the testimony read back to you, may also request that. Please

remember that it is not always easy to locate what you might want, so be as specific as you possibly

can in requesting exhibits or portions of the testimony.

       Your requests for exhibits or testimony—in fact any communication with the court—

should be made to me in writing, signed by your foreperson, and given to one of the marshals. In

any event, do not tell me or anyone else how the jury stands on any issue until after a unanimous

verdict is reached.




LEXIS Modern Federal Jury Instructions-Civil P 78.01

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         DELIBERATIONS: DUTY TO DELIBERATE/UNANIMOUS VERDICT

       You will now return to the jury room to decide the case. In order to prevail, Scott

Swysgood must meet his burden of proof, as I have explained to you with respect to each element

of his claim for breach of contract. If you find that Scott Swysgood has not met his burden, then

you must find in favor of the Northwestern Board of Education, and you need not consider whether

the Northwestern Board of Education has proven its affirmative defense.

If you find that Scott Swysgood has sustained his burden of proof, then you must next decide

whether the Northwestern Board of Education has met its burden of proving its affirmative

defenses of waiver and waiver by estoppel. If you find that the Northwestern Board of Education

has met its burden, then you must find in favor of the Northwestern Board of Education and against

Scott Swysgood. However, if you find that the Northwestern Board of Education has failed to

meet its burden with respect to any element of its affirmative defense, you must return a verdict

against the defendant, provided that you have already determined that Scott Swysgood met his

burden of proof on his breach of contract claim..

       It is your duty as jurors to consult with one another and to deliberate with a view to reaching

an agreement. Each of you must decide the case for himself or herself, but you should do so only

after a consideration of the case with your fellow jurors, and you should not hesitate to change an

opinion when convinced that it is erroneous. Your verdict must be unanimous, but you are not

bound to surrender your honest convictions concerning the effect or weight of the evidence for the

mere purpose of returning a verdict or solely because of the opinion of other jurors. Discuss and

weigh your respective opinions dispassionately, without regard to sympathy, without regard to

prejudice or favor for either party, and adopt that conclusion which in your good conscience

appears to be in accordance with the truth.



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       Again, each of you must make your own decision about the proper outcome of this case

based on your consideration of the evidence and your discussions with your fellow jurors. No

juror should surrender his or her conscientious beliefs solely for the purpose of returning a

unanimous verdict.



Adapted from LEXIS Modern Federal Jury Instructions-Civil P 78.01




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                   DELIBERATIONS: SELECTION OF FOREPERSON

       When you return to the jury room, you should elect one member of the jury as your

foreperson. That person will preside over the deliberations and speak for you here in open court.




LEXIS Modern Federal Jury Instructions-Civil P 78.01


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       GENERAL VERDICT FORM ACCOMPANIED BY INTERROGATORIES

       I have prepared several forms for you to use in recording your decisions.

       First, there is a set of four interrogatories. Interrogatories are written questions, which,

along with these Jury Instructions, will help you decide the issues in this case. Depending on what

you decide, you may or may not be required to answer all four interrogatories. You must follow

the specific instructions contained in each individual interrogatory.

       Next, there are two general verdict forms. One of the general verdict forms reflects a

verdict in favor of Plaintiff Scott Swysgood. The other general verdict form reflects a verdict in

favor of Defendant Northwestern Board of Education.

       If you decide the case in favor of Plaintiff, you should sign and date the form reflecting a

verdict in favor of Plaintiff Scott Swysgood.

       If you decide the case in favor of Defendant, you should sign and date the form reflecting

a verdict in favor of Defendant Northwestern Board of Education.

       Your general verdict and your answers to the interrogatories must reflect the conscientious

judgment of each juror.




Adapted from LEXIS Modern Federal Jury Instructions-Civil P 78.01




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                                   RETURN OF VERDICT

       After you have reached a verdict, your foreperson will fill in the form that has been given

to you, sign and date it and advise the courtroom deputy that you are ready to return to the

courtroom.

       I will stress that each of you should be in agreement with the verdict which is announced

in court. Once your verdict is announced by your foreperson in open court and officially recorded,

it cannot ordinarily be revoked.




LEXIS Modern Federal Jury Instructions-Civil P 78.01




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                                   QUESTIONS BY THE JURY

        If you have a question, it should be discussed in the privacy of the jury room. It should be

reduced to writing so that there will be no misunderstanding as to what is requested. It should not

reflect the status of your deliberations.

        Where a term has not been defined for you, you must give that term its common and

ordinary meaning.


Source:
OJI CV 207.37 (2017)




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                                      CLOSING REMARKS

       I cannot embody all the law in any single part of these instructions. In considering one

portion, you must consider it in light of and in harmony with all the instructions.

       I have instructed you on all the law necessary for your deliberations. Whether certain

instructions are applicable may depend upon the conclusions you reach on the facts by a

preponderance of the evidence. If you have an impression that I have indicated how any disputed

fact should be decided, you must put aside such an impression because that decision must be made

by you, based solely upon the facts presented to you in this courtroom.

       The Court will place in your possession the exhibits and the verdict forms. The foreperson

will retain possession of these records, including the verdict forms, and return them to the

courtroom. Until your verdict is announced in open court, you are not to disclose to anyone else

the status of your deliberations or the nature of your verdict.

       You will now retire. First, select a foreperson and whenever six (6) or more jurors agree

upon the verdict, you will complete and sign the appropriate verdict form in ink, and advise the

courtroom deputy. You will then be returned to the courtroom.



Source:
OJI CV 207.35 and OJI CV 207.39 (2017)




                                               /s/Warren Rosman
                                               WARREN ROSMAN (0017510)
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                                 Northwestern Local School District
                                 Board of West Salem




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                               CERTIFICATE OF SERVICE

       The within pleading was filed via the Court’s electronic filing system this 22nd day of

January, 2019; service will be accomplished in accordance with instructions contained therein.




                                            /s/Warren Rosman
                                            WARREN ROSMAN
                                            Counsel for Defendants
                                            Northwestern Local School District Board of
                                            Education of West Salem




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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


SCOTT SWYSGOOD                               )      CASE NO. 5:17-CV-00697-BYP
                                             )
        Plaintiff                            )      JUDGE BENITA Y. PEARSON
                                             )
v.                                           )      MAGISTRATE JUDGE LIMBERT
                                             )
BOARD OF EDUCATION OF THE                    )
NORTHWESTERN LOCAL SCHOOL                    )      DEFENDANT’S PROPOSED JURY
DISTRICT OF WEST SALEM, et al.               )      INTERROGATORY NO.1
                                             )
        Defendants                           )




(1)     Do you find that the typed-in job titles of “Transportation Coordinator/Head Bus
        Mechanic” and “Transportation Supervisor/Head Bus Mechanic” contradict the heading at
        the top of the preprinted portion of the 2012 and 2013 contract document describing the
        document as a “Support Employee’s Contract”?

        CIRCLE ONE:                  YES            or             NO


        1. _______________________                  5. _______________________

        2. _______________________                  6. _______________________

        3. _______________________                  7. _______________________

        4. _______________________                  8. _______________________


**If the answer to this Interrogatory is “YES,” sign the Verdict for Defendant Northwestern Board.

**If the answer to this Interrogatory is “NO,” move on to interrogatory No. 2.
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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


SCOTT SWYSGOOD                              )       CASE NO. 5:17-CV-00697-BYP
                                            )
        Plaintiff                           )       JUDGE BENITA Y. PEARSON
                                            )
v.                                          )       MAGISTRATE JUDGE LIMBERT
                                            )
BOARD OF EDUCATION OF THE                   )
NORTHWESTERN LOCAL SCHOOL                   )       DEFENDANT’S PROPOSED JURY
DISTRICT OF WEST SALEM, et al.              )       INTERROGATORY NO.2
                                            )
        Defendants                          )




(1)     Do you find that the parties intended that Scott Swysgood was a supervisor/administrator
        and member of the administration in his capacity as the Transportation Supervisor/Head
        Bus Mechanic or do you find that the parties intended that that Scott Swysgood was an
        hourly support employee?

        CIRCLE ONE:                  SUPERVISOR/ADMINISTRATOR

                                                    or

                                        HOURLY EMPLOYEE


        1. _______________________                  5. _______________________

        2. _______________________                  6. _______________________

        3. _______________________                  7. _______________________

        4. _______________________                  8. _______________________


**If the answer to this Interrogatory is “SUPERVISOR/ADMINISTRATOR,” sign Verdict for
Defendant Northwestern Board of Education

**If the answer to this Interrogatory is “HOURLY EMPLOYEE,” move on to Interrogatory No.
3.



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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


SCOTT SWYSGOOD                              )       CASE NO. 5:17-CV-00697-BYP
                                            )
        Plaintiff                           )       JUDGE BENITA Y. PEARSON
                                            )
v.                                          )       MAGISTRATE JUDGE LIMBERT
                                            )
BOARD OF EDUCATION OF THE                   )
NORTHWESTERN LOCAL SCHOOL                   )       DEFENDANT’S PROPOSED JURY
DISTRICT OF WEST SALEM, et al.              )       INTERROGATORY NO.13
                                            )
        Defendants                          )



(1)     DIf you have found that Scott Swysgood was an hourly support employee, do you find that
        Scott Swysgood waived his right to receive additional compensation for additional hours
        logged beyond his regular workday schedule?

        CIRCLE ONE:                  YES            or            NO


        1. _______________________                  5. _______________________

        2. _______________________                  6. _______________________

        3. _______________________                  7. _______________________

        4. _______________________                  8. _______________________




**If the answer to this Interrogatory is “YES,” sign Verdict for Defendant Northwestern Board of
Education

**If the answer to this Interrogatory is “NO,” move on to answer Interrogatory No. 4.




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                         IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


SCOTT SWYSGOOD                               )       CASE NO. 5:17-CV-00697-BYP
                                             )
        Plaintiff                            )       JUDGE BENITA Y. PEARSON
                                             )
v.                                           )       MAGISTRATE JUDGE LIMBERT
                                             )
BOARD OF EDUCATION OF THE                    )
NORTHWESTERN LOCAL SCHOOL                    )       DEFENDANT’S PROPOSED JURY
DISTRICT OF WEST SALEM, et al.               )       INTERROGATORY NO.2
                                             )
        Defendants                           )




(1)     If you have found that Mr. Swysgood is an hourly support employee and he did not waive
        his right to receive additional compensation for additional hours logged beyond his regular
        workday schedule, provide the number of actual hours for which he is entitled
        compensation.

        Actual number of additional hours for which he is entitled compensation: _________


        1. _______________________                   5. _______________________

        2. _______________________                   6. _______________________

        3. _______________________                   7. _______________________

        4. _______________________                   8. _______________________


** Sign Verdict for Plaintiff Scott Swysgood.




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                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


SCOTT SWYSGOOD                             )       CASE NO. 5:17-CV-00697-BYP
                                           )
        Plaintiff                          )       JUDGE BENITA Y. PEARSON
                                           )
v.                                         )       MAGISTRATE JUDGE LIMBERT
                                           )
BOARD OF EDUCATION OF THE                  )
NORTHWESTERN LOCAL SCHOOL                  )       [DEFENDANT’S PROPOSED]
DISTRICT OF WEST SALEM, et al.             )       GENERAL VERDICT FOR
                                           )       DEFENDANT NORTHWESTERN
        Defendants                         )       BOARD OF EDUCATION


        On Plaintiff Scott Swysgood’s claim of breach of contract against Defendant Board of

Education of the Northwestern Local School District of West Salem, we the jury, being duly

impaneled, upon concurrence of the undersigned jurors, do find for Defendant Board of Education

of the Northwestern Local School District of West Salem and against Plaintiff Scott Swysgood.


        1. _______________________                 5. _______________________

        2. _______________________                 6. _______________________

        3. _______________________                 7. _______________________

        4. _______________________                 8. _______________________


Date:                 .




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                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


SCOTT SWYSGOOD                               )       CASE NO. 5:17-CV-00697-BYP
                                             )
        Plaintiff                            )       JUDGE BENITA Y. PEARSON
                                             )
v.                                           )       MAGISTRATE JUDGE LIMBERT
                                             )
BOARD OF EDUCATION OF THE                    )
NORTHWESTERN LOCAL SCHOOL                    )       [DEFENDANT’S PROPOSED]
DISTRICT OF WEST SALEM, et al.               )       GENERAL VERDICT FOR PLAINTIFF
                                             )
        Defendants                           )


        On Plaintiff Scott Swysgood’s claim of breach of contract against Defendant Board of

Education of the Northwestern Local School District of West Salem, we the jury, being duly

impaneled, upon concurrence of the undersigned jurors, do find for Plaintiff Scott Swysgood and

against Defendant Board of Education of the Northwestern Local School District of West Salem.

We find that Plaintiff Scott Swysgood is entitled to compensation for _____ additional actual hours

of work performed beyond his ordinary workday schedule.


        1. _______________________                   5. _______________________

        2. _______________________                   6. _______________________

        3. _______________________                   7. _______________________

        4. _______________________                   8. _______________________


Date:                 .




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